70 F.3d 638
    315 U.S.App.D.C. 77
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.John J. MASON, Appellant,v.WASHINGTON BANCORPORATION, et al.
    No. 95-7174.
    United States Court of Appeals, District of Columbia Circuit.
    Oct. 17, 1995.Rehearing Denied Dec. 28, 1995.
    
      Before:  BUCKLEY, GINSBURG, and HENDERSON, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for an opinion.  See D.C.Cir.Rule 36(b).  It is
    
    
      2
      ORDERED AND ADJUDGED that the district court's order filed December 6, 1993 be affirmed substantially for the reasons stated therein.  The district court did not abuse its discretion, Cooter &amp; Gell v. Hartmarx Corp., 496 U.S. 384, 405 (1990), in imposing sanctions pursuant to Fed.R.Civ.P. 11 for the filing of appellant's motion for leave to intervene.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 41.
    
    